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                      IN THE UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF WEST VIRGINIA

 UNITED STATES OF AMERICA,

 v.                                             Criminal Action No. 1:14-cr-86-1

 TIMOTHY WAYNE FERRELL, JR.,
       Defendant.

                    OPINION/ REPORT AND RECOMMENDATION
                   CONCERNING PLEA OF GUILTY IN FELONY CASE

        This matter has been referred to the undersigned Magistrate Judge by the District Court for

 purposes of conducting proceedings pursuant to Federal Rule of Criminal Procedure 11. Defendant,

 Timothy Wayne Ferrell, Jr., in person and by counsel, Brian Kornbrath, appeared before me on

 December 23, 2014. The Government appeared by Assistant United States Attorney Shawn Morgan.

 The Court determined that Defendant was prepared to enter a plea of “Guilty” to Counts Four and

 Forty-Nine of the Indictment.

        The Court proceeded with the Rule 11 proceeding by first placing Defendant under oath.

        The Court inquired of Defendant whether he was a citizen of the United States. Defendant

 responded that he is a citizen. The undersigned asked Defendant whether he understood that if he

 were not a citizen of the United States, by pleading guilty to a felony charge he would be subject to

 deportation at the conclusion of any sentence; that he would be denied future entry into the United

 States; and that he would be denied citizenship if he ever applied for it. Defendant stated that he

 understood.

        The Court determined that Defendant’s plea was pursuant to a written plea agreement, and

 asked the Government to tender the original to the Court. The Court asked counsel for the

 Government if the agreement was the sole agreement offered to Defendant. The Government

 responded that it was and counsel for Defendant confirmed the same. The Court asked counsel for
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 the Government to summarize the written plea agreement. Defendant stated that the agreement as

 summarized by counsel for the Government was correct and complied with his understanding of the

 agreement. The Court ORDERED the written plea agreement filed.

        The Court next inquired of Defendant concerning his understanding of his right to have an

 Article III Judge hear the entry of his guilty plea and his understanding of the difference between an

 Article III Judge and a Magistrate Judge. Defendant thereafter stated in open court that he

 voluntarily waived his right to have an Article III Judge hear his plea and voluntarily consented to

 the undersigned Magistrate Judge hearing his plea, and tendered to the Court a written Waiver of

 Article III Judge and Consent To Enter Guilty Plea Before Magistrate Judge, which waiver and

 consent was signed by Defendant and countersigned by Defendant’s counsel and was concurred in

 by the signature of the Assistant United States Attorney appearing.

        Upon consideration of the sworn testimony of Defendant, as well as the representations of

 his counsel and the representations of the Government, the Court finds that the oral and written

 waiver of Article III Judge and consent to enter guilty plea before a Magistrate Judge was freely and

 voluntarily given and the written waiver and consent was freely and voluntarily executed by

 Defendant, Timothy Wayne Ferrell, Jr., only after having had his rights fully explained to him and

 having a full understanding of those rights through consultation with his counsel, as well as through

 questioning by the Court. The Court ORDERED the written Waiver and Consent to Enter Guilty

 Plea before a Magistrate Judge filed and made part of the record.

        The undersigned then reviewed with Defendant Count Four of the Indictment and the

 elements the Government would have to prove, charging him with possession of pseudoephedrine

 to be used in the manufacture of methamphetamine, in violation of 21 U.S.C. § 841(c)(2). The


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 undersigned also reviewed with Defendant Count Forty-Nine of the Indictment and the elements the

 Government would have to prove, charging him with possession of a firearm by an unlawful

 user/drug addict, in violation of 18 U.S.C. §§ 922(g)(3) and 924(a)(2). The undersigned then

 reviewed with Defendant the statutory penalties applicable to an individual adjudicated guilty of the

 felony charges contained in Counts Four and Forty-Nine of the Indictment, the impact of the

 sentencing guidelines on sentencing in general, and inquired of Defendant as to his competency to

 proceed with the plea hearing. From said review the undersigned Magistrate Judge determined

 Defendant understood the nature of the charges pending against him and understood the possible

 statutory maximum sentence which could be imposed upon his conviction or adjudication of guilty

 on Count Four was imprisonment for a term of not more than twenty (20) years; understood that a

 fine of not more than $250,000.00 could be imposed; understood that both fine and imprisonment

 could be imposed; understood he would be subject to a period of at least three (3) years of supervised

 release; and understood the Court would impose a special mandatory assessment of $100.00 for the

 felony conviction payable on or before the date of sentencing. Defendant further understood the

 possible statutory maximum sentence which could be imposed upon his conviction or adjudication

 of guilty on Count Forty-Nine was imprisonment for not more than ten (10) years; understood that

 a fine of not more than $250,000 could be imposed; understood that both fine and imprisonment

 could be imposed; understood he would be subject to a period of three (3) years of supervised

 release; and understood the Court would impose a special mandatory assessment of $100.00 for the

 felony conviction payable on or before the date of sentencing. Defendant also understood that his

 sentence could be increased if he had a prior firearm offense, violent felony conviction, or prior drug




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 conviction. He also understood he might be required by the Court to pay the costs of his

 incarceration and supervised release.

        The undersigned also reviewed with Defendant his waiver of appellate rights as follows:

 Ct.    Do you understand that you have a right to appeal your conviction and your sentence under

        federal statute 18 U.S.C. 3742 to the Fourth Circuit Court of Appeals located in Richmond,

        Virginia, provided that you give the appropriate 14-day notice after sentencing of intent to

        appeal?

 Def.   Yes, sir.

 Ct.    Do you further understand that under certain circumstances you may collaterally attack or

        challenge your sentence and how that sentence is being carried out or how it was calculated

        by filing what is commonly called a writ of habeas corpus motion, primarily under 28 U.S.C.

        2255?

 Def.   Yes, sir.

 Ct.    There may be other federal statutes also governing various aspects of writs of habeas corpus,

        do you understand that?

 Def.   Yes, sir.

 Ct.    Do you understand that under your written plea agreement, and I’m now referring to

        paragraph 12, I believe it is, you completely give up your right to appeal your conviction and

        the sentence and how it was calculated to the Fourth Circuit Court of Appeals?

 Def.   Yes, sir.

 Ct.    You completely give up your right to file a writ of habeas corpus motion under 28 U.S.C.

        2255.


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 Def.   Yes, sir.

 Ct.    Now, the only thing you reserve to yourself under paragraph 12(B) is the right to claim in a

        writ of habeas corpus motion that there was ineffective assistance of counsel or prosecutorial

        misconduct in your case.

 Def.   Yes, sir.

 Ct.    However, as you say in the agreement, there is no such known prosecutorial misconduct or

        ineffective assistance of counsel, is that correct?

 Def.   Yes, sir.

 Ct.    As you sit here today, do you know of any ineffective assistance of counsel?

 Def.   No, sir.

 Ct.    As you sit here today, do you know of any prosecutorial misconduct in your case?

 Def.   No, sir.

 Ct.    Do you fully understand that that means that unless you discover it after today, you’ve given

        it all up?

 Def.   Yes, sir.

 Ct.    And you intended to do that by signing the written plea agreement with paragraph 12 in it,

        is that correct?

 Def.   Yes, sir.

 Ct.    Did you fully understand that paragraph when you signed it?

 Def.   Yes, sir.

 Ct.    Has anything about your understanding of that paragraph changed since you signed in on

        December 16th and today?



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 Def.   No, sir.

        From the foregoing colloquy the undersigned determined that Defendant understood his

 appellate rights and knowingly gave up those rights pursuant to the conditions contained in the

 written plea agreement.

        The undersigned Magistrate Judge further examined Defendant relative to his knowledgeable

 and voluntary execution of the written plea bargain agreement, and determined the entry into said

 written plea bargain agreement was both knowledgeable and voluntary on the part of Defendant. The

 undersigned then inquired of Defendant regarding his understanding of the written plea agreement.

 Defendant stated he understood the terms of the written plea agreement and also stated that it

 contained the whole of his agreement with the Government and no promises or representations were

 made to him by the Government other than those terms contained in the written plea agreement.

        The undersigned Magistrate Judge further inquired of Defendant, his counsel, and the

 Government as to the non-binding recommendations and stipulation contained in the written plea

 agreement and determined that Defendant understood, with respect to the plea agreement and to

 Defendant’s entry of a plea of guilty to the felony charges contained in Counts Four and Forty-Nine

 of the Indictment, the undersigned Magistrate Judge would write the subject Report and

 Recommendation and would further order a pre-sentence investigation report be prepared by the

 probation officer attending the District Court. The undersigned advised the Defendant that the

 District Judge would adjudicate the Defendant guilty of the felonies charged under Counts Four and

 Forty-Nine of the Indictment. Only after the District Court had an opportunity to review the pre-

 sentence investigation report, would the District Court make a determination as to whether to accept

 or reject any recommendation or stipulation contained within the plea agreement or pre-sentence

 report. The undersigned reiterated to the Defendant that the District Judge may not agree with the


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 recommendations or stipulation contained in the written agreement. The undersigned Magistrate

 Judge further advised Defendant, in accord with Federal Rule of Criminal Procedure 11, that in the

 event the District Court Judge refused to follow the non-binding recommendations or stipulation

 contained in the written plea agreement and/or sentenced him to a sentence which was different from

 that which he expected, he would not be permitted to withdraw his guilty plea. Defendant and his

 counsel each acknowledged their understanding and Defendant maintained his desire to have his plea

 of guilty accepted.

        Defendant also understood that his actual sentence could not be calculated until after a pre-

 sentence report was prepared and a sentencing hearing conducted. The undersigned also advised,

 and Defendant stated that he understood, that the Sentencing Guidelines are no longer mandatory,

 and that, even if the District Judge did not follow the Sentencing Guidelines or sentenced him to a

 higher sentence than he expected, he would not have a right to withdraw his guilty plea. Defendant

 further stated his attorney showed him how the advisory guideline chart worked but did not promise

 him any specific sentence at the time of sentencing. Defendant stated that he understood his attorney

 could not predict or promise him what actual sentence he would receive from the sentencing judge

 at the sentencing hearing. Defendant further understood there was no parole in the federal system,

 although he may be able to earn institutional good time, and that good time was not controlled by

 the Court, but by the Federal Bureau of Prisons.

        The parties agreed that the Government would present a proffer to establish an independent

 basis in fact for Defendant’s plea. The Government proffered that in May 2014, officer Adam Berg,

 who is assigned to the Three Rivers Drug Task Force, received information from law enforcement

 officials in the State of Michigan that Defendant and some associates had been involved in


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 manufacturing methamphetamine and that they had relocated to Fairmont, Marion County, West

 Virginia, within the Northern District of West Virginia. The investigation continued through the

 summer and fall of 2014 and culminated with a search warrant that was executed at Defendant’s

 residence in Fairmont on October 3, 2014. At that time, officers located an active methamphetamine

 lab. Defendant was interviewed and admitted that he had been involved in manufacturing

 methamphetamine and purchasing pseudoephedrine, knowing that it would be used to manufacture

 methamphetamine. Specifically, a review of NPLEX shows that Defendant made a purchase of

 pseudoephedrine on May 12, 2014, in Bellview, Marion County. He made that purchase knowing

 that it would be used to manufacture methamphetamine.

        Furthermore, a witness advised Officer Berg and Sergeant Doug Yost that Defendant was in

 possession of a .30-06 semi-automatic firearm that he had tried to pawn, but was unsuccessful in

 doing so. On September 19, 2014, Sergeant Yost, acting in an undercover capacity, purchased that

 firearm from Defendant at Defendant’s residence for $250.00. That residence was the same

 residence where the search warrant was executed on October 3, 2014. During his post-arrest

 interview, Defendant admitted to being an unlawful user of methamphetamine. On October 30,

 2014, ATF Special Agent Greg Perry determined that the firearm met the statutory definition of a

 firearm and had not been manufactured in West Virginia.

        Defendant stated he heard, understood, and did not disagree with the Government’s proffer.

 The undersigned United States Magistrate Judge concludes the offenses charged in Counts Four and

 Forty-Nine of the Indictment are supported by an independent basis in fact concerning all of the

 essential elements of such offenses. That independent basis is provided by the Government’s

 proffer.


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        Thereupon, Defendant, Timothy Wayne Ferrell, Jr., with the consent of his counsel, Brian

 Kornbrath, proceeded to enter a verbal plea of GUILTY to the felony charges in Counts Four and

 Forty-Nine of the Indictment.

        Upon consideration of all of the above, the undersigned Magistrate Judge finds that

 Defendant is fully competent and capable of entering an informed plea; Defendant is aware of and

 understood his right to have an Article III Judge hear and accept his plea and elected to voluntarily

 consent to the undersigned United States Magistrate Judge hearing his plea; Defendant understood

 the charges against him, not only as to the Indictment as a whole, but in particular as to Counts Four

 and Forty-Nine of the Indictment; Defendant understood the consequences of his plea of guilty, in

 particular the maximum statutory penalties to which he would be exposed for Counts Four and

 Forty-Nine; Defendant made a knowing and voluntary plea of guilty to Counts Four and Forty-Nine

 of the Indictment; and Defendant’s plea is independently supported by the Government’s proffer

 which provides, beyond a reasonable doubt, proof of each of the essential elements of the charges

 to which Defendant has pled guilty.

        The undersigned Magistrate Judge therefore recommends Defendant’s plea of guilty to

 Counts Four and Forty-Nine of the Indictment herein be accepted conditioned upon the Court’s

 receipt and review of this Report and Recommendation.

        The undersigned further directs that a pre-sentence investigation report be prepared by the

 adult probation officer assigned to this case.

        Defendant is remanded to the custody of the United States Marshal Service pending further

 proceedings in this matter.




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         Any party may, within fourteen (14) days after being served with a copy of this Report and

  Recommendation, file with the Clerk of the Court written objections identifying the portions of the

  Report and Recommendation to which objection is made, and the basis for such objection. A copy

  of such objections should also be submitted to the Honorable Irene M. Keeley, United States District

  Judge. Failure to timely file objections to the Report and Recommendation set forth above will

  result in waiver of the right to appeal from a judgment of this Court based upon such report and

  recommendation. 28 U.S.C. § 636(b)(1); United States v. Schronce, 727 F.2d 91 (4th Cir. 1984),

  cert. denied, 467 U.S. 1208 (1984); Wright v. Collins, 766 F.2d 841 (4th Cir. 1985); Thomas v. Arn,

  474 U.S. 140 (1985).

         The Clerk of the Court is directed to send a copy of this Report and Recommendation to

  counsel of record.

         Respectfully submitted this 23rd day of December, 2014.


                                                       John S. Kaull
                                                       JOHN S. KAULL
                                                       UNITED STATES MAGISTRATE JUDGE




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